                  IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF OREGON



CONSTANCE GEORGE,                          Case No. 3:15-cv-1277-SI

          Plaintiff,                       FINAL JURY INSTRUCTIONS

     v.

HOUSE OF HOPE RECOVERY and
PATRICIA BARCROFT,

          Defendants.




     DATED this 18th day of April, 2017.


                                           /s/ Michael H. Simon
                                           Michael H. Simon
                                           United States District Judge




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      Members of the Jury:

      Now that you have heard all of the evidence, it is my duty to instruct you as

to the law of the case.

Instruction No. 1: Duty of Jury

      Each of you has received a copy of these instructions, and you may take

them with you to the jury room to consult during your deliberations.

      You must not take from these instructions or from anything I may have said

or done during the trial that I have an opinion regarding the evidence or what your

verdict should be. That is entirely up to you. When you deliberate, it will be your

duty to weigh and evaluate all the evidence received in this trial and, in that

process, to decide the facts. To the facts as you find them, you will apply the law

as I give it to you. You must follow the law as I give it to you, whether you agree

with it or not. You will recall that you took an oath to do so. In following my

instructions, you must follow all of them and not single out some and ignore

others; they are all important. In addition, you must decide the case solely on the

evidence and the law before you. You must not be influenced by any personal likes

or dislikes, opinions, prejudices, sympathy, or biases. This includes unconscious

biases, which are stereotypes, attitudes, or preferences that people may consciously

reject, but may be expressed without conscious awareness, control, or intention.




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Like conscious bias, unconscious bias also can affect how we evaluate information

and make decisions.

Instruction No. 2: Summary of Claims and Defenses

      The Plaintiff in this case is Ms. Constance George. She is suing the

Defendants, House of Hope Recovery and Ms. Patricia Barcroft. The Plaintiff,

Ms. George, is an African-American woman. She previously was a resident at a

residential recovery house operated by Defendant House of Hope. This residential

recovery house provides transitional housing for women. Defendant Patricia

Barcroft is the Executive Director of House of Hope.

      The Plaintiff, Ms. George, claims that the Defendants, House of Hope and

Patricia Barcroft, violated the “Fair Housing Act,” also referred to as the “FHA.”

As relevant to this lawsuit, the Fair Housing Act, or FHA, prohibits landlords from

imposing different terms and conditions on the rental of a dwelling to a tenant

because of the tenant’s race. That law also prohibits landlords from making any

statements with respect to the rental of a dwelling that indicate any preference,

limitation, or discrimination based on race.

      The Plaintiff also claims that Defendant House of Hope violated the federal

civil rights law referred to as “42 U.S.C. § 1981,” also known simply as

“Section 1981.” This claim is brought only against House of Hope and not against

Ms. Barcroft personally. As relevant to this lawsuit, Section 1981 guarantees that

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all persons shall have the same rights to make, perform, modify, and terminate

contracts and shall enjoy all of the benefits, privileges, terms, and conditions of

any contractual relationship, as are enjoyed by white citizens.

      The Plaintiff seeks an award of money for damages for the harm that she

alleges was caused by the Defendants’ wrongful actions. The Defendants deny that

they have violated the law, and they deny that the Plaintiff is entitled to any money

damages. The Plaintiff also seeks an award of punitive damages. In addition to

denying that they violated the Plaintiff’s rights, the Defendants deny that the

Plaintiff is entitled to any punitive damages.

Instruction No. 3: Burden of Proof—Preponderance of the Evidence

      A party must prove any claim or affirmative defense that party has made.

This is called the burden of proof. In this case, the Plaintiff has the burden of

proving her claim by a preponderance of the evidence. The Defendants have the

burden of proving any affirmative defense by a preponderance of the evidence.

      When a party has the burden of proof on any claim or affirmative defense by

a preponderance of the evidence, it means you must be persuaded by the evidence

that the claim or affirmative defense is more probably true than not true.

      You should base your decision on all of the evidence, regardless of which

party presented it.




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Instruction No. 4: What Is Evidence

       The evidence you are to consider in deciding what the facts are consists of:

       1.       The sworn testimony of any witness;

       2.       The exhibits that are received into evidence; and

       3.       Any facts to which the lawyers have agreed, which are also called

stipulations.

Instruction No. 5: What Is Not Evidence

       In reaching your verdict, you may consider only the testimony and exhibits

received into evidence. Certain things are not evidence, and you may not consider

them in deciding what the facts are. I will list them for you:

       1.       Arguments and statements by lawyers are not evidence. The lawyers

are not witnesses. What they have said in their opening statements, will say in their

closing arguments, and at other times is intended to help you interpret the

evidence, but it is not evidence. If the facts as you remember them differ from the

way the lawyers have stated them, your memory of them controls.

       2.       Questions and objections by lawyers are not evidence. Attorneys have

a duty to their clients to object when they believe a question is improper under the

rules of evidence. You should not be influenced by the objection or by the court’s

ruling on it.

       3.       Testimony that has been excluded or stricken, or that you have been

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instructed to disregard, is not evidence and must not be considered. In addition,

sometimes testimony and exhibits are received only for a limited purpose; when I

have given a limiting instruction, you must follow it.

       4.       Anything you may have seen or heard when the court was not in

session is not evidence. You are to decide the case solely on the evidence received

at the trial.

Instruction No. 6: Direct and Circumstantial Evidence

       Evidence may be direct or circumstantial. Direct evidence is direct proof of a

fact, such as testimony by a witness about what that witness personally saw or heard

or did. Circumstantial evidence is proof of one or more facts from which you could

find another fact. You should consider both kinds of evidence. The law makes no

distinction between the weight to be given to either direct or circumstantial

evidence. It is for you to decide how much weight to give to any evidence.

Instruction No. 7: Ruling on Objections

       There are rules of evidence that control what can be received into evidence.

When a lawyer asks a question or offers an exhibit into evidence and a lawyer on

the other side thinks that it is not permitted by the rules of evidence, that lawyer

may object. If I overruled the objection, the question was answered or the exhibit

was received. If I sustained the objection, the question cannot be answered or the

exhibit cannot be received. Whenever I have sustained an objection to a question,

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you must ignore the question and must not guess what the answer might have been.

       If I have ordered that evidence be stricken from the record and that you

disregard or ignore that evidence, then, when you are deciding the case, you must

not consider the stricken evidence for any purpose.

Instruction No. 8: Credibility of Witnesses

       In deciding the facts in this case, you may have to decide which testimony to

believe and which testimony not to believe. You may believe everything a witness

says, or part of it, or none of it. Proof of a fact does not necessarily depend on the

number of witnesses who testify about it.

       In considering the testimony of any witness, you may take into account:

       1.     the opportunity and ability of the witness to see or hear or know the

things testified to;

       2.     the witness’s memory;

       3.     the witness’s manner while testifying;

       4.     the witness’s interest in the outcome of the case, if any;

       5.     the witness’s bias or prejudice, if any;

       6.     whether other evidence contradicted the witness’s testimony;

       7.     the reasonableness of the witness’s testimony in light of all the

evidence; and

       8.     any other factors that bear on believability.

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       You must avoid bias, conscious or unconscious, based on any witness’s race,

color, religious beliefs, national origin, sexual orientation, gender identity, or

gender in your determination of credibility.

       The weight of the evidence as to a fact does not necessarily depend on the

number of witnesses who testify about it.

Instruction No. 9: Two Defendants

       As you know, there are two Defendants in this case. You should decide the

case as to each Defendant separately. Unless otherwise stated, the instructions

apply to all parties.

Instruction No. 10: Fair Housing Act Claim

       The Plaintiff has brought a claim of housing discrimination against the

Defendants under the federal Fair Housing Act, also known as the “FHA.” The

Fair Housing Act prohibits landlords from imposing different terms and conditions

on the rental of a dwelling to a tenant because of the tenant’s race. It also prohibits

landlords from making any statements with respect to the rental of a dwelling that

indicates any preference, limitation, or discrimination based on race.

       The Plaintiff claims that Defendants House of Hope and Ms. Barcroft

violated the Fair Housing Act by imposing different terms and conditions on the

Plaintiff’s rental of a room at the House of Hope because of her race and by

terminating her tenancy at House of Hope because of her race. The Plaintiff also

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claims that the Defendants made a statement with respect to her rental of a room at

House of Hope that indicated a preference, limitation, or discrimination based on

race. The Defendants admit that they terminated the Plaintiff’s tenancy, but

otherwise deny each of these allegations.

      In order to prevail on this claim, the Plaintiff has the burden of proving both

of the following elements by a preponderance of the evidence:

      1.     The Defendants terminated the Plaintiff’s tenancy at the House of

Hope; subjected her tenancy to different terms or conditions; or made a statement

with respect to the rental of a dwelling that indicated a preference, limitation, or

discrimination based on race; and

      2.     The Plaintiff’s race was a motivating factor in the decision to

terminate the Plaintiff’s tenancy; to subject her tenancy to different terms or

conditions; or make a statement with respect to the rental of a dwelling that

indicated a preference, limitation, or discrimination based on race.

      A “motivating factor” is a factor that played a part in the decision to

terminate the Plaintiff’s tenancy; to subject her tenancy to different terms or

conditions; or to make a statement that indicated a preference, limitation, or

discrimination based on race, even if the factor was not the only factor in that

decision.




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      A statement indicates a preference based on race in violation of the FHA if

an ordinary listener would find that the statement indicates that tenants of a

particular race are either preferred or disfavored for the housing in question. A

landlord may advise prospective tenants that the landlord has a policy of

non-discrimination, provided that landlord does not communicate its policy in a

manner that in any way indicates that tenants of a particular race are either

preferred or disfavored.

      If you find that the Plaintiff has proven both of these elements, your verdict

on the Fair Housing Act claim should be for the Plaintiff. If, on the other hand, the

Plaintiff has failed to prove either of these elements, your verdict on this claim

should be for the Defendants.

Instruction No. 11: Section 1981 Claim

      The Plaintiff also has made a claim under 42 U.S.C. § 1981, also known as

“Section 1981.” This law guarantees that all persons shall have the same rights to

make, perform, modify, and terminate contracts and enjoy all of the benefits,

privileges, terms, and conditions of the contractual relationship, as are enjoyed by

white citizens. The Plaintiff claims that Defendant House of Hope violated her

right to enjoy all the benefits and privileges of her lease contract by terminating her

lease on the basis of her race. Defendant House of Hope denies that it

discriminated against the Plaintiff in any way.

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      In order to prevail on this claim, the Plaintiff has the burden of proving both

of the following elements by a preponderance of the evidence:

      1. Defendant House of Hope terminated the Plaintiff’s lease; and

      2. The Plaintiff’s race was a motivating factor in Defendant House of

          Hope’s decision to terminate the Plaintiff’s lease.

      A “motivating factor” is a factor that played a part in Defendant House of

Hope’s decision to terminate the Plaintiff’s lease, even if it was not the only factor

in that decision.

      If you find that the Plaintiff has proven both of these elements, your verdict

on the Plaintiff’s Section 1981 claim should be for the Plaintiff. If, on the other

hand, the Plaintiff has failed to prove either of these elements, your verdict on this

claim should be for Defendant House of Hope.

Instruction No. 12: Plaintiff’s Claim for Compensatory Damages

      It is the duty of the Court to instruct you about the measure of damages. By

instructing you on damages, the Court does not mean to suggest for which party

your verdict should be rendered.

      If you find for the Plaintiff, you must determine the Plaintiff’s damages. The

Plaintiff has the burden of proving damages by a preponderance of the evidence.

Damages means the amount of money that will reasonably and fairly compensate

the Plaintiff for any injury you find was caused by the Defendants. You should

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consider the following:

      1.      Plaintiff’s noneconomic damages; and

       2.     Plaintiff’s economic damages.

      It is for you to determine what damages, if any, have been proved. Your

award must be based upon evidence and not upon speculation, guesswork, or

conjecture.

Instruction No. 13: Noneconomic Damages

      If you find for the Plaintiff on any of her claims, you must determine her

noneconomic damages, if any. Noneconomic damages are the subjective,

non-monetary losses that a plaintiff has sustained or probably will sustain in the

future. The law does not furnish you with any fixed standard by which to measure

the exact amount of noneconomic damages. The law requires, however, that all

damages awarded be reasonable. You must apply your own considered judgment,

therefore, to determine the amount of noneconomic damages.

      In determining the amount of noneconomic damages, if any, you should

consider the mental, physical, and emotional pain and suffering experienced and

which with reasonable probability will be experienced in the future.

Instruction No. 14: Economic Damages

      If you find for the Plaintiff on any of her claims, you must also determine

her economic damages, if any. Economic damages means the amount of money

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that will reasonably and fairly compensate the Plaintiff for any increased housing

costs, lost wages, and other expenses you find were caused by the unlawful acts of

the Defendants. The Plaintiff has the burden of proving both the existence and the

amount of her damages by a preponderance of the evidence.

Instruction No. 15: Nominal Damages

       The law that applies to this case authorizes an award of nominal damages. If

you find for the Plaintiff, but also find that the Plaintiff has failed to prove

damages as defined in these instructions, you must award nominal damages.

Nominal damages may not exceed one dollar.

Instruction No. 16: Punitive Damages

       If you find for the Plaintiff, you may, but are not required to, award punitive

damages. The purposes of punitive damages are to punish a Defendant and to deter

similar acts in the future. Punitive damages may not be awarded to compensate a

plaintiff.

       The Plaintiff has the burden of proving by a preponderance of the evidence

that punitive damages should be awarded and, if so, the amount of any such

damages.

       You may award punitive damages only if you find that a Defendant’s

conduct that harmed the Plaintiff was malicious, oppressive or in reckless

disregard of the Plaintiff’s rights. Conduct is malicious if it is accompanied by ill

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will, or spite, or if it is for the purpose of injuring the plaintiff. Conduct is in

reckless disregard of the Plaintiff’s rights if, under the circumstances, it reflects

complete indifference to the Plaintiff’s safety or rights, or if a Defendant acts in the

face of a perceived risk that his, her, or its actions will violate the Plaintiff’s rights

under federal law. An act or omission is oppressive if the Defendants injure or

damage or otherwise violate the rights of the Plaintiff with unnecessary harshness

or severity, such as by misusing or abusing authority or power or by taking

advantage of some weakness or disability or misfortune of the Plaintiff.

       If you find that punitive damages are appropriate, you must use reason in

setting the amount. Punitive damages, if any, should be in an amount sufficient to

fulfill their purposes but should not reflect bias, prejudice or sympathy toward any

party. In considering the amount of any punitive damages, consider the degree of

reprehensibility of the defendant’s conduct.

       Punitive damages may be awarded even if you award the Plaintiff only

nominal, and not compensatory, damages.

  ------------------------------ CLOSING ARGUMENTS ------------------------------

Instruction No. 17: Duty to Deliberate

       When you begin your deliberations, you should elect one member of the jury

as your presiding juror. That person will preside over the deliberations and speak

for you here in court. You will then discuss the case with your fellow jurors to


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reach agreement if you can do so. Your verdict must be unanimous. Each of you

must decide the case for yourself, but you should do so only after you have

considered all of the evidence, discussed it fully with the other jurors, and listened

to the views of your fellow jurors.

      Do not hesitate to change your opinion if the discussion persuades you that

you should. Do not come to a decision simply because other jurors think it is right.

It is important that you attempt to reach a unanimous verdict but, of course, only if

each of you can do so after having made your own conscientious decision. Do not

change an honest belief about the weight and effect of the evidence simply to reach

a verdict.

Instruction No. 18: Consideration of Evidence—Conduct of the Jury

      Because you must base your verdict only on the evidence received in the

case and on these instructions, I remind you that you must not be exposed to any

other information about the case or to the issues it involves. Except for discussing

the case with your fellow jurors during your deliberations:

      Do not communicate with anyone in any way and do not let anyone else

communicate with you in any way about the merits of the case or anything to do

with it. This includes discussing the case in person, in writing, by phone or

electronic means, via email, text messaging, or any Internet chat room, blog,

website or social media application. This applies to communicating with your

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family members, your employer, the media or press, and the people involved in the

trial. If you are asked or approached in any way about your jury service or

anything about this case, you must respond that you have been ordered not to

discuss the matter and to report the contact to the court. After the trial is over and I

have discharged you as a jury, you may then discuss this case with anyone you

choose, although whether to choose to do so at that time is entirely up to you.

      Until you have been discharged as a jury, do not read, watch, or listen to any

news or media accounts or commentary about the case or anything to do with it; do

not do any research, such as consulting dictionaries, searching the Internet or using

other reference materials; and do not make any investigation or in any other way

try to learn about the case on your own.

      The law requires these restrictions to ensure the parties have a fair trial based

on the same evidence that each party has had an opportunity to address. A juror

who violates these restrictions jeopardizes the fairness of these proceedings, and a

mistrial could result that would require the entire trial process to start over. If any

juror is exposed to any outside information, please notify the court immediately.

Instruction No. 19: Communication with Court

      If it becomes necessary during your deliberations to communicate with me,

you may send a note through our courtroom deputy, Mary Austad, signed by your

presiding juror or by one or more members of the jury. No member of the jury

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should ever attempt to communicate with me except by a signed writing; I will

communicate with any member of the jury on anything concerning the case only in

writing, or here in open court. If you send out a question, I will consult with the

parties before answering it, which may take some time. You may continue your

deliberations while waiting for the answer to any question.

      Remember that you are not to tell anyone—including me—how the jury

stands, numerically or otherwise, until after you have reached a unanimous verdict

or have been discharged. Do not disclose any vote count in any note to the court.

Instruction No. 20: Return of Verdict

      A verdict form has been prepared for you. After you have reached

unanimous agreement on each applicable question on the verdict form, your

presiding juror should fill in the verdict form, sign and date the verdict form, and

advise the Court that you are ready to return to the courtroom.


                               Verdict form described.




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